3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-3   Page 1 of 5




                    SC NAACP v. Alexander,
            Case No. 3:21-cv-03302-MGL-TJH-RMG




                  EXHIBIT C




  PORTIONS OF THIS DEPOSITION HAVE BEEN
  SUBMITTED TO THE COURT FOR IN CAMERA
     REVIEW PURSUANT TO THE CONSENT
         CONFIDENTIALITY ORDER
               (ECF NO. 123)
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-3   Page 2 of 5




                                                                  Page 225

 1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3
           THE SOUTH CAROLINA STATE CONFERENCE OF
 4         THE NAACP, et al.,
 5                     Plaintiffs,
 6         vs.                   CASE NO. 3:21-cv-03302-MBS
                                          TJH-RMG
 7
           THOMAS C. ALEXANDER, et al.,
 8
                          Defendant.
 9
10         VTC
           DEPOSITION OF:      WALLACE HERBERT JORDAN, JR.
11                             VOLUME II - Pages 225 through 444
                               (Appearing by VTC)
12
           DATE:               July 21, 2022
13
           TIME:               10:03 a.m.
14
           LOCATION:           Nexsen Pruet Law Firm
15                             1230 Main Street, 7th Floor
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        Susan M. Valsecchi, CRR
                               Registered Professional Reporter
18                             (Appearing by VTC)
19
20
21
22
23
24
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 352-3   Page 3 of 5




                                                                   Page 433

 1                  Q.   Did you try and make sure that all of
 2         the districts were contiguous?
 3                  A.   Yes.
 4                  Q.   Did you, to the best of your ability,
 5         try to make sure that the districts were compact?
 6                  A.   Yes.
 7                  Q.   Did you, as you understood communities
 8         of interest, attempt to keep them whole?
 9                  A.   Yes.
10                  Q.   And did you consider incumbency in the
11         adoption of congressional districts?
12                  A.   Yes, it was a consideration, as
13         outlined in the document.
14                  Q.   And in Roman Numeral IX, priority of
15         criteria, if I might paraphrase, does it say that
16         all of these considerations, criteria, are to be
17         considered but none of them can conflict with
18         sections 1, 2, 3 or 4?
19                  A.   Yes, if you -- if, for instance 7, 8,
20         9, if one of those had an issue that competed with
21         1, 2, 3, 4, the 1, 2, 3, 4 would be controlling.
22                  Q.   Okay.     And if you will look at Roman
23         Numeral X, can you read that for me?
24                  A.   "Public input."
25                       "The Redistricting Ad Hoc Committee

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-3   Page 4 of 5




                                                                   Page 446

 1       SC State Conference Of The NAACP v. Alexander, Et Al.
 2       Wallace H. Jordan, Jr. - Volume 2 (#5327842)
 3                           E R R A T A          S H E E T
 4       PAGE_____ LINE_____ CHANGE________________________
 5       __________________________________________________
 6       REASON____________________________________________
 7       PAGE_____ LINE_____ CHANGE________________________
 8       __________________________________________________
 9       REASON____________________________________________
10       PAGE_____ LINE_____ CHANGE________________________
11       __________________________________________________
12       REASON____________________________________________
13       PAGE_____ LINE_____ CHANGE________________________
14       __________________________________________________
15       REASON____________________________________________
16       PAGE_____ LINE_____ CHANGE________________________
17       __________________________________________________
18       REASON____________________________________________
19       PAGE_____ LINE_____ CHANGE________________________
20       __________________________________________________
21       REASON____________________________________________
22
23       ________________________________                 _______________
24       Wallace H. Jordan, Jr.                             Date
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-3   Page 5 of 5




                                                                   Page 447

 1       SC State Conference Of The NAACP v. Alexander, Et Al.

 2       Wallace H. Jordan, Jr. - Volume 2 (#5327842)

 3                      ACKNOWLEDGEMENT OF DEPONENT

 4        I, Wallace H. Jordan, Jr., do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________             ________________

12       Wallace H. Jordan, Jr.                             Date

13       *If notary is required

14                          SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                          ______ DAY OF ________________, 20___.

16

17

18                          __________________________

19                          NOTARY PUBLIC

20

21

22

23

24

25

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